
David Campbell, Special Judge,
delivered the opinion of the Court.
On the 20th day of April, 1860, George H. War-field brought suit, in the Circuit Court of Montgomery, against E. W. Johnson, John P. House, and J. 0. Shackelford, to recover a debt of one thousand and fifty-one dollars and fifty cents, and two hundred dollars damages, as stated in the writ.
The cause of action is thus stated in the declaration: “ The plaintiff sues the defendant on a note, executed by said E. W. Johnson and John F. House, and here to the Court shown, on the 16th of December, 1858, at Clarksville, for the sum of one thousand and fifty-one dollars and fifty cents, payable at the Planters’ Bank of Tennessee, in favor of J. 0. Shackelford; by him endorsed to plaintiff; and the same note, not being paid at maturity, was duly protested — of all of which the defendants had notice. The note, with charges and interest thereon, remains unpaid.” At the January Term, 1861, the following proceedings were had in the cause, as shown by the record: “This day came the parties, by their attorneys, and the defendants withdrew their pleas by them impleaded, and admit they owe five hundred and thirty-one dollars and eighty cents, debt, to the plaintiff, and twenty-five dollars and ninety-seven cents interest thereon,. to this date. Whereupon, it is considered by the Court, that the plaintiff recover of the defendants, five hundred and fiftv-seven dollars and forty-five cents. debt, and interest so admitted, as aforesaid; as also the costs in *327tbis behalf expended, and that execution issue.” From this judgment, John F. House and J. 0. Shackelford, appealed in error, to this Court. It is here insisted, that this judgment is either a judgment by default, or by confession; and as either is erroneous, the Court does not think it, technically, either the one or the other; but is a judgment regularly rendered, upon the solemn ■ admissions of the parties, made in the course of the suit, and with the view of such admissions being acted upon by the Court. The principle is a familiar one, that the parties are bound, and even estopped, by their solemn admission of record, made in a cause, either in the pleadings, or otherwise. This familiar principle is decisive of the correctness of the judgment of the Court below. Other errors were assigned in argument, which it is not deemed necessary to notice, as they do not, in the 'opinion of the Court, present any solid ground of objections to the correctness of the action of the Court below.
The judgment of the Circuit Court is affirmed.
